Case 4:20-cv-02254-YGR   Document 477-8   Filed 06/13/25   Page 1 of 9




            EXHIBIT G
Case 4:20-cv-02254-YGR   Document 477-8   Filed 06/13/25   Page 2 of 9
              Case 4:20-cv-02254-YGR       Document 477-8   Filed 06/13/25   Page 3 of 9


Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Thursday, May 15, 2025 9:34 AM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Good morning, Matt

Signed aff attached. Note that Jodi edited to reflect her legal first name, Joanne.

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Tuesday, May 13, 2025 10:19 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Great, updated declaration is attached.

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Tuesday, May 13, 2025 7:39 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Thanks, Matt –

The person for affidavit is Jodi Tarantino, Executive Director


                                                   2
              Case 4:20-cv-02254-YGR             Document 477-8          Filed 06/13/25      Page 4 of 9

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Tuesday, May 13, 2025 6:24 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Thanks Keith. I’ve prepared the attached declaration that notes that your client conducted a good-faith search for billing
information but no longer retains records for the individual identified by my client. This would resolve our request for
documents and for a deposition. Please let me know if you have any issues or concerns with the attached.

Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Tuesday, May 13, 2025 5:02 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Hi Matt –
Yea, so there is nothing showing anything related to any outstanding balance or anything of that
nature. Basically nothing in their files related to what was billed but definitely can tell that
nothing was paid.

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Tuesday, May 13, 2025 2:24 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Thanks, that is helpful. I know you previously referenced that “there may be billing records but my client may have not
have ever gotten authorization for the billing, so there was no payment”—is there anything showing an amount owed or
anything outstanding? Or is there just nothing financial/billing related at all that is maintained by your client?

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306
                                                            3
             Case 4:20-cv-02254-YGR              Document 477-8        Filed 06/13/25       Page 5 of 9



From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Monday, May 12, 2025 2:30 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Hi Matt –

I confirmed this morning that there was absolutely no billing directly to the client. There were
no payments made by the insurer. There may be invoicing to the insurer but it is with a former
billing company and my client no longer has a relationship with them.

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Monday, May 12, 2025 2:21 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Hi Keith,

Just wanted to follow up on the below. Thanks!

Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Aiken, Matthew G.
Sent: Monday, May 5, 2025 4:33 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Just to confirm, they do not have invoices, account statements, records of payments received for treatment, or anything
like that?

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
                                                           4
             Case 4:20-cv-02254-YGR            Document 477-8         Filed 06/13/25       Page 6 of 9
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Monday, May 5, 2025 4:29 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Just talked to them. There are no billing records for that guy. Do you want them to see
anything else exists?

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Monday, May 5, 2025 3:49 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Hi Keith,

Hope you had a great weekend. I just wanted to follow up on the below. Please let me know if it would be helpful to
discuss.

Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Tuesday, April 15, 2025 11:40 AM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

If I am understanding it correctly, it sounds like there may be billing records but my client may
have not have ever gotten authorization for the billing, so there was no payment. Hope to know
more soon.

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Tuesday, April 15, 2025 11:37 AM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena
                                                          5
             Case 4:20-cv-02254-YGR             Document 477-8         Filed 06/13/25                    Page 7 of 9


Hi Keith,
                                                                                 Redacted for PHI/PII
Thanks for reaching out. Do you mean that they may not have billing records on                          or that they may not have
billed him at all?

Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Keith L. Sachs <ksachs@ddsklaw.com>
Sent: Tuesday, April 15, 2025 9:12 AM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Subject: RE: Evergreen Subpoena

Thanks, Matthew

By way of   update, my client starting looking into this and it appears billing may not have been
        Redacted for PHI/PII
done on                      Perhaps something that slipped through the cracks. Client is chasing it
down.

From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Monday, April 14, 2025 7:55 PM
To: Keith L. Sachs <ksachs@ddsklaw.com>
Subject: RE: Evergreen Subpoena

Hi Keith,

Thanks for touching base earlier today. I just wanted to confirm in wriƟng that we agreed to extend the date to produce
responsive documents from April 18, 2025 to May 2, 2025.

Best,
MaƩhew


Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

                                                           6
             Case 4:20-cv-02254-YGR           Document 477-8        Filed 06/13/25      Page 8 of 9

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Aiken, Matthew G.
Sent: Monday, April 14, 2025 11:30 AM
To: ksachs@ddsklaw.com
Subject: Evergreen Subpoena

AƩached.

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




This message may contain confidential and privileged information for the sole use of the intended recipient.
Any review, disclosure, distribution by others or forwarding without express permission is strictly prohibited. If
it has been sent to you in error, please reply to advise the sender of the error and then immediately delete this
message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our privacy
policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.
                                                        7
             Case 4:20-cv-02254-YGR          Document 477-8        Filed 06/13/25     Page 9 of 9



This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.


This message may contain confidential and privileged information for the sole use of the intended
recipient. Any review, disclosure, distribution by others or forwarding without express permission is
strictly prohibited. If it has been sent to you in error, please reply to advise the sender of the error and
then immediately delete this message.

Please see our website at https://www.gibsondunn.com/ for information regarding the firm and/or our
privacy policy.




                                                       8
